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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1534V
                                    Filed: December 6, 2017
                                         UNPUBLISHED


    CHRISTINE ROGERS,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Guillain-
                                                             Barre Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On November 17, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré syndrome (“GBS”) as
a result of an influenza (“flu”) vaccine administered on October 16, 2015. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

        On November 20, 2017, a ruling on entitlement was issued, finding petitioner
entitled to compensation for her GBS injury. On December 1, 2017, respondent filed a
proffer on award of compensation (“Proffer”) indicating petitioner should be awarded
$270,000.00. Proffer at 2. In the Proffer, respondent represented that petitioner agrees
with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $270,000.00 in the form of a check payable to
petitioner, Christine Rogers. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 CHRISTINE ROGERS,

                Petitioner,

 v.                                                    No. 16-1534V
                                                       Chief Special Master Dorsey
 SECRETARY OF HEALTH AND                               ECF
 HUMAN SERVICES,

                Respondent.


            RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

       On November 17, 2016, Christine Rogers (“petitioner”) filed a petition for

compensation (“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42

U.S.C. §§ 300aa-1 to -34 (“Vaccine Act” or “Act”), as amended. Respondent conceded

petitioner’s entitlement to compensation in his Rule 4(c) Report filed on November 20, 2017.

Based on Respondent’s Rule 4(c) Report, on November 20, 2017, the Chief Special Master

found petitioner entitled to compensation.

I.    Items of Compensation

      A.       Lost Earnings

      The parties agree that based upon the evidence of record, Christine Rogers has suffered

past loss of earnings and will suffer a loss of earnings in the future. Therefore, respondent

proffers that Christine Rogers should be awarded lost earnings as provided under the Vaccine

Act, 42 U.S.C. § 300aa-15(a)(3)(A). Respondent proffers that the appropriate award for

Christine Rogers’s lost earnings is $63,398.95. Petitioner agrees.




                                                1
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      B.         Pain and Suffering

      Respondent proffers that Christine Rogers should be awarded $201,723.07 in actual and

projected pain and suffering. This amount reflects that any award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

      C.         Past Unreimbursable Expenses

      Evidence supplied by petitioner documents Christine Rogers’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent proffers that

petitioner should be awarded past unreimbursable expenses in the amount of $4,877.98.

Petitioner agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $270,000.00, representing compensation for lost earnings

($63,398.95), pain and suffering ($201,723.07), and past unreimbursable expenses ($4,877.98),

in the form of a check payable to petitioner, Christine Rogers. 1 This lump sum payment

represents all elements of compensation to which petitioner would be entitled under 42 U.S.C.

§ 300aa-15(a). Petitioner agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                Respectfully submitted,

                                                CHAD A. READLER
                                                Principal Deputy Assistant Attorney General



1
 Should petitioner die prior to entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.

                                                  2
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                                   C. SALVATORE D’ALESSIO
                                   Acting Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   ALEXIS B. BABCOCK
                                   Assistant Director
                                   Torts Branch, Civil Division

                                    s/Jennifer L. Reynaud
                                   JENNIFER L. REYNAUD
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Dated: November 30, 2017




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